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                        UNITED STATES DISTRICT COURT
                    FOR THE WESTERN DISTRICT OF MICHIGAN
                             SOUTHERN DIVISION




UNITED STATES OF AMERICA,

              Plaintiff,
                                                         File No. 1:07-CR-08
v.
                                                         HON. ROBERT HOLMES BELL
FERMIN PEDRO RAMOS-RAMOS,
a/k/a Pedro Ramos, and LAURIE
ANN RAMOS,

              Defendants.
                                             /

                                       OPINION

       Defendant Fermin Pedro Ramos-Ramos has been charged in an eight-count Second

Superseding Indictment1 with human trafficking and immigrations offenses. This matter is

before the Court on Defendant's motion to dismiss the human trafficking counts (Counts 1-4)

and the associated forfeiture count (Count 8). For the reasons that follow the Court will deny

Defendant's motion to dismiss.




       1
        Defendant's motion to dismiss addresses the sufficiency of the Superseding
Indictment. Subsequent to the filing of Defendant's motion the grand jury issued a Second
Superseding Indictment. The Second Superseding Indictment charges substantially the same
violations, but alters some of the charging language and the statutory citations. The Court
will consider the motion to dismiss as it applies to the Second Superseding Indictment.
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                                              I.

       The five counts of the indictment that are the subject of Defendant's motion charge

the following criminal activity: Count 1, forced labor including aggravated sexual abuse,

18 U.S.C. § 1589; Count 2, involuntary servitude including aggravated sexual abuse, 18

U.S.C. § 1584; Count 3, trafficking into forced labor and involuntary servitude including

aggravated sexual abuse, 18 U.S.C. § 1590; Count 4, document servitude, 18 U.S.C. § 1592;

and Count 8, forfeiture, 18 U.S.C. § 1594(b), (c). Defendant moves to dismiss these counts

pursuant to the Fifth and Sixth Amendments to the United States Constitution on the grounds

of insufficient notice, duplicity and vagueness.

       The constitutional rights implicated by Defendant's motion are the right "to be

informed of the nature and cause of the accusation," U.S. C ONST. amend. VI, and the right

to have all charges brought before a grand jury. U.S. C ONST. amend. V. "In general, an

indictment is constitutionally adequate if it 'contains the elements of the offense charged and

fairly informs a defendant of the charge against which he must defend, and, second, enables

him to plead an acquittal or conviction in bar of future prosecutions for the same offense.'"

United States v. Landham, 251 F.3d 1072, 1079 (6th Cir. 2001) (quoting Hamling v. United

States, 418 U.S. 87, 117 (1974)); see also United States v. Maney, 226 F.3d 660, 663 (6th

Cir. 2000) (same). "Courts use a common sense construction in determining whether an

indictment sufficiently informs a defendant of an offense." Allen v. United States, 867 F.2d

969, 971 (6th Cir. 1989). "An indictment is usually sufficient if it states the offense using



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the words of the statute itself, as long as the statute fully and unambiguously states all the

elements of the offense." Landham, 251 F.3d at 1079 (citing Hamling, 418 U.S. at 117).

       Counts 1-4 allege that between January 24, 2004, and September 2004 (August 2003

to September 2004 for Count 3) in Montcalm County (and "elsewhere" for Count 3),

Defendant:

       did knowingly obtain the labor and services of a person, to wit: a young
       Mexican woman identified herein as "Jane Doe," by means of the threatened
       abuse of law and the legal process.

Count 1;

       did knowingly and willfully hold "Jane Doe" to involuntary servitude for a
       term.

Count 2;

       did knowingly recruit, harbor, transport and obtain a person, to wit: "Jane
       Doe," for unlawful labor and services.

Count 3; and

       did knowingly conceal, remove, confiscate, and possess the actual or purported
       passport, immigration documents, and government identification documents
       of "Jane Doe" (1) in the course of violating sections 1584, 1589, and 1590 of
       Title 18 of the United States Code, as charged in Counts One, Two and Three;
       and (2) to prevent and restrict, and to attempt to prevent and restrict, without
       lawful authority, "Jane Doe's" liberty to move and travel, in order to maintain
       the labor and services of "Jane Doe," when "Jane Doe" had been the victim of
       a severe form of trafficking in persons.

Count 4. Counts 1-3 further provide that

       Said conduct included the aggravated sexual abuse and attempted aggravated
       sexual abuse of "Jane Doe."



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Counts 1-3. Count 8 alleges that upon conviction of one or more of the offenses alleged in

Counts 1-4, Defendant shall forfeit his interest in property used to facilitate the commission

of the violations.

A. Insufficient Notice

       Defendant contends that Counts 1-4, the human trafficking counts, fail to adequately

inform him of the offenses with which he is charged because they do not contain sufficient

factual averments, and they suffer from duplicity. Defendant does not deny that the language

of the indictment tracks the statutory language. Defendant notes, however, that Counts 1-3

do not allege any specific dates, other than an eight month period; they allege abuse of legal

process but do not identify what legal process was involved; they allege "aggravated sexual

abuse" but do not allege a single sexual act, much less what the sexual act was, what made

it aggravated, or where, when or how often it occurred. Defendant contends that more

factual detail is required, particularly where, as here, Defendant is charged with an offense

carrying a potential life sentence.2    Defendant contends that because Counts 4 and 8

incorporate and/or are dependent upon the allegations in Counts 1-3, they are deficient for

the same reasons as Counts 1-3.




       2
         The statutes that Defendant is charged with violating in Counts 1-3 all provide that
"if the violation includes . . . aggravated sexual abuse or the attempt to commit aggravated
sexual abuse . . . the defendant shall be fined under this title or imprisoned for any term of
years or life, or both." 18 U.S.C. §§ 1584, 1589 & 1590.

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       The First Superseding Indictment did not allege any facts to support the allegation of

"aggravated sexual abuse," other than by citation to 18 U.S.C. § 2241, a statute that defines

aggravated sexual abuse by reference to several different kinds of conduct, including force,

threat, and administration of drugs or intoxicants.        In United States v. Crowley, 79

F. Supp. 2d 138, 159 (E.D.N.Y. 1999), rev'd on other grounds, 236 F.3d 104 (2d Cir. 2000),

the court held that an indictment alleging aggravated sexual abuse and sexual abuse in

violation of 18 U.S.C. §§ 2241 and 2242 violated the Fifth Amendment's Grand Jury clause

where it failed to set forth the specific facts alleged to constitute the proscribed sexual act.

Id. at 153. The court noted that a "sexual act" is the most essential element of the crimes

charged, and that because there are four separate and distinct types of sexual acts described

in 18 U.S.C. § 2246(2), the precise identification of the specific actions alleged to constitute

the charged "sexual act" was vital to a determination of a defendant's guilt. Id. at 159.

       Similarly, in United States v. Awan, 459 F. Supp. 2d 167 (E.D. N.Y. 2006), the court

dismissed counts of an indictment that alleged that the defendant provided "material support"

for acts of terrorism, without further description.      The court noted that although the

indictment tracked the language of the statute, that was not sufficient where the statute

defined "material support" as any of several different enumerated types of conduct. Id. at

174-75.3



       3
        Defendant does not assert that the indictment fails to charge each element of the
offense, as was the case in United States v. Hathaway, 318 F.3d 1001 (10th Cir. 2003),
another case cited by Defendant.

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       Defendant's concerns with respect to the aggravated sexual abuse allegations have

been addressed by the Second Superseding Indictment's inclusion of more specific statutory

citations. The Second Superseding Indictment's citation to 18 U.S.C. § 2246(2)(A) limits

"sexual act" to "contact between the penis and the vulva or the penis and the anus," and its

citation to l8 U.S.C. § 2241(b)(1) limits the "aggravating" conduct to engaging in a sexual

act with another person after knowingly rendering that other person unconscious. Thus, in

contrast to Crowley, the Second Superseding Indictment insures that the grand jury

considered the same conduct that will be presented to the jury at trial. The Court is satisfied

that the more specific statutory references in the Second Superseding Indictment are

sufficient to place Defendant on notice of the specific conduct alleged to constitute

"aggravated sexual abuse," and ensure that a conviction is not secured on the basis of facts

not considered by the grand jury that indicted him. See Russell v. United States, 369 U.S.

749, 770 (1962).

       The Second Superseding Indictment does not, however, address Defendant's concerns

regarding the lack of allegations as to when, where, or how often the alleged aggravated

sexual abuse occurred. Upon review the Court does not find that these omissions render the

indictment constitutionally deficient.

       The Sixth Circuit has held that "fairly large time windows in the context of child

abuse prosecutions are not in conflict with constitutional notice requirements." Valentine v.

Konteh, 395 F.3d 626, 632 (6th Cir. 2005). The court noted that "prosecutors should be as



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specific as possible in delineating the dates and times of abuse offenses, but we must

acknowledge the reality of situations where young child victims are involved." Id.

       The indictment in this case describes Jane Doe as "a young Mexican woman," and an

illegal alien who was held in involuntary servitude. It does not allege that "Jane Doe" was

a child, or that she had a child's inability to recall dates and times of abuse offenses.

Nevertheless, Valentine recognizes that practical realities often have an effect on the ability

to charge specific dates. More importantly, the case law relied on in Valentine reaffirms that

the test for the sufficiency of the indictment must focus on the defendant's ability to defend

and to plead double jeopardy. See, e.g., Madden v. Tate, No. 85-3061, 1987 WL 44909, *3

(6th Cir. Sept. 30, 1987) (reviewing state conviction) ("Failure to specify the precise dates

upon which the alleged crimes occurred does not deprive the defendant of his constitutional

right to due process where time is not of the essence of the offense and where the dates used

are not picked arbitrarily."); Fawcett v. Bablitch, 962 F.2d 617, 619 (7th Cir. 1992) (noting,

in context of reviewing sexual abuse charge covering a six month time frame, that Hamling

requires court to examine indictment objectively: "did the charge enable an innocent accused

to mount an adequate defense?").

       In Valentine the court found the state charges to be unconstitutional where the

petitioner had been convicted of forty separate incidents of sexual abuse, none of which was

tied to a specific date. The court noted that "[t]he problem in this case is not the fact that the

prosecution did not provide the defendant with exact times and places." Id. at 632. "If there



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had been singular counts of each offense, the lack of particularity would not have presented

the same problem." Id. The problem in Valentine was that because "the forty criminal

counts were not anchored to forty distinguishable criminal offenses, Valentine had little

ability to defend himself." Id. at 633. In contrast to Valentine, Defendant in this case has not

been charged with multiple counts of the same offense. Defendant has been charged with

only a single count of each offense. Accordingly, the lack of precise dates, locations, or

numbers of occurrences of the alleged aggravated sexual abuse does not necessarily affect

Defendant's ability to defend himself or to avoid double jeopardy.

B. Duplicity

       Defendant contends that all of the counts at issue suffer from duplicity.

       "An indictment is duplicitous if 'it joins in a single count two or more distinct and

separate offenses.'" United States v. Shumpert Hood, 210 F.3d 660, 662-63 (6th Cir. 2000)

(quoting United States v. Robinson, 651 F.2d 1188, 1194 (6th Cir. 1981)). "In determining

whether there is duplicity or multiplicity [in an indictment] the decisive criteria are legislative

intent and separate proof." United States v. Damrah, 412 F.3d 618, 622 (6th Cir. 2005)

(quoting United States v. Duncan, 850 F.2d 1104, 1108 n. 4 (6th Cir. 1988)). The mere

existence of multiple theories of liability or multiple factual predicates for violation of a

statute, however, does not render an indictment duplicitous. United States v. Washington,

127 F.3d 510, 513 (6th Cir. 1997). "It is not duplicitous to allege in one count that multiple

means have been used to commit a single offense." Damrah, 412 F.3d at 622. An



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indictment under a statute which subjects alternative acts to the same punishment may charge

any or all acts conjunctively without duplicity, and the government need only prove violation

of one of the alleged acts to prove violation of the statute. United States v. Hixon, 987 F.2d

1261, 1265 (6th Cir. 1993).

       Defendant contends that Counts 1 and 4 are improper because they plead several

different theories in the alternative. See United States v. Klein, 850 F.2d 404, 406 (8th Cir.

1988) (noting that federal pleading requires that an indictment charge in the conjunctive to

inform the accused fully of the charges). The government contends that the Sixth Circuit has

not adopted the Eighth Circuit's strict requirement that federal indictments charge in the

conjunctive. See United States v. Murph, 707 F.2d 895, 896 (6th Cir. 1983) ("It is settled law

that an offense may be charged conjunctively in an indictment where a statute denounces the

offense disjunctively."). In any event, the disjunctive pleading in Counts 1 and 4 of the First

Superseding Indictment does not appear in the Second Superseding Indictment.              The

references to threats or schemes is no longer found in Count 1, which now only references

the threatened abuse of law and the legal process. The word "or" in Count 4 has been

replaced with the word "and."

       Defendant contends that the reference to "aggravated sexual abuse and attempted

aggravated sexual abuse" in Counts 1-3 is duplicitous because its alleges multiple crimes in

one count. In each of these counts the government has appropriately alleged multiple means

used to commit the charged offense. As noted above, the mere existence of multiple theories



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of liability or multiple factual predicates for violation of a statute does not render an

indictment duplicitous. Washington, 127 F.3d at 513. Counts 1-3 are not duplicitous.

C. Vagueness

       Defendant contends that Counts 1-3 must also be dismissed to the extent they allege

offenses punishable by life imprisonment because they are void for vagueness.

       The statutes that Defendant is charged with violating in Counts 1-3 all provide that

"if the violation includes . . . aggravated sexual abuse or the attempt to commit aggravated

sexual abuse . . . the defendant shall be fined under this title or imprisoned for any term of

years or life, or both." 18 U.S.C. §§ 1584, 1589 & 1590. Defendant notes that although

aggravated sexual abuse is an element of the offense under each of these statutes, none of

these statutes defines aggravated sexual abuse. Although the indictment cites to 18 U.S.C.

§§ 2241(b)(1) and 2246(2)(A), which contain definitions of aggravated sexual abuse, the

statutes Defendant is charged with violating (18 U.S.C. §§ 1584, 1589 and 1590) do not

incorporate these statutory definitions by reference. Neither has Congress provided a

definition of "aggravated sexual abuse" that applies to all of Title 18, or that applies to

Chapter 77, the chapter of Title 18 that covers trafficking in persons.

       According to Defendant, the term "aggravated sexual abuse" is a technical statutory

term of art without a common, everyday meaning. Thus, Defendant contends that Congress'

failure to provide a definition of this critical element of the offense, particularly where this

element is used to support a punishment of life imprisonment, requires dismissal of Counts



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1-3 to the extent that they allege that Defendant's conduct included "aggravated sexual abuse

and attempted aggravated sexual abuse."

       "[T]he void-for-vagueness doctrine requires that a penal statute define the criminal

offense with sufficient definiteness that ordinary people can understand what conduct is

prohibited and in a manner that does not encourage arbitrary and discriminatory

enforcement." Kolender v. Lawson, 461 U.S. 352, 357 (1983). See also United States v.

Gibson, 409 F.3d 325, 334 (6th Cir. 2005) ("[T]o be facially valid, a criminal standard must

'define the proscribed behavior with sufficient particularity to provide a person of ordinary

intelligence with reasonable notice of prohibited conduct and to encourage non-arbitrary

enforcement of the provision.'"). "When the common meaning of a word provides adequate

notice of the prohibited conduct, the statute's failure to define the term will not render the

statute void for vagueness." United States v. Namey, 364 F.3d 843, 844-45 (6th Cir. 2004).

       Congress could have incorporated a reference to the definition of sexual abuse from

18 U.S.C. §§ 2241-44, into the human trafficking statutes, as it did in the Carjacking

Correction Act of 1996. See Ramirez-Burgos v. United States, 313 F.3d 23, 30 n. 8 (1st Cir.

2002) (noting that "Congress amended § 2119(2) to make clear that the definition of 'serious

bodily harm' includes sexual abuse, as defined in 18 U.S.C. §§ 2241 and 2242 that occurs

during the course of the carjacking."). However, "[t]he fact that Congress might, without

difficulty, have chosen '(c)learer and more precise language' equally capable of achieving the




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end which it sought does not mean that the statute which it in fact drafted is

unconstitutionally vague." United States v. Powell, 423 U.S. 87, 94 (1975).

       It is not unusual for federal courts interpreting undefined terms in one federal statute

to look to other federal statutes for guidance. For example, the Immigration and Nationality

Act defines "aggravated felony" to include "sexual abuse of a minor," but does not interpret

the term "sexual abuse of a minor." 8 U.S.C. § 1101(a)(43)(A). In determining whether an

alien's prior conviction involving a minor was a deportable "aggravated felony," courts have

looked to other federal statutes for the definition of "sexual abuse of a minor." See, e.g.,

Gattem v. Gonzales, 412 F.3d 758, 763-65 (7th Cir. 2005) (upholding BIA's selection of

definition of sexual abuse of a minor from 18 U.S.C. § 3509(a)(8) for purposes of defining

"sexual abuse of minor" in 8 U.S.C. § 1101(a)(43)(A)); Emile v. INS, 244 F.3d 183, 186 (1st

Cir. 2001) (upholding INS' borrowing from 18 U.S.C. §§ 2241-44 for definition of "sexual

abuse of minor" for purposes of 8 U.S.C. § 1101(a)(43)(A)).

       The government maintains that the Sexual Abuse Act of 1986, 18 U.S.C. §§ 2241-48,

which contains definitions of sexual abuse offenses, has conferred upon the term "aggravated

sexual abuse" a "commonly accepted meaning" or an "established meaning" within the

context of federal criminal law sufficient to provide a criminal defendant with adequate

notice. This Court agrees. To the extent there is any ambiguity in the term "aggravated

sexual abuse," it makes sense to look to the federal Sexual Abuse Act for a definition of the

term as it is used in another federal criminal statute. The Court is satisfied that the term



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"aggravated sexual abuse" provides a person of ordinary intelligence with reasonable notice

of prohibited conduct and is sufficiently particularized in light of federal criminal statutes

defining the term to insure that the provision is not enforced in an arbitrary manner.

        The Court concludes that the absence of a definition for "aggravated sexual abuse"

in the human trafficking statutes does not render the human trafficking statutes or their

punishment provisions void for vagueness. Because the Court is satisfied that Counts 1-3

survive Defendant's constitutional challenges, the Court finds that Defendant's challenges to

Counts 4 and 8, which depend on his challenges to Counts 1-3, survive his challenges as

well. Accordingly, Defendant's motion to dismiss Counts 1-4 and Count 8 will be denied.

        An order consistent with this opinion will be entered.




Date:       May 18, 2007                   /s/ Robert Holmes Bell
                                           ROBERT HOLMES BELL
                                           CHIEF UNITED STATES DISTRICT JUDGE




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